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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                             1:18-cv-11642

                              Plaintiff,                        ORDER TO SHOW CAUSE
               -against-                                           FOR CONTEMPT

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,
JIA LIAN,
XIAO YU,

                              Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                               Nominal Defendant.



       Upon the affirmations of Michael D. Cilento, Esq., dated March, 14 2019 and Robert W. Seiden,

Esq., dated March 14, 2019 and the exhibits attached thereto; the Memorandum of Law in Support of

Order to Show Cause for Contempt dated March 14. 2019; and upon all the pleadings relevant to this

action, and with good cause appearing, it is hereby:

       ORDERED THAT, Defendant Vincent Shi (“Defendant Shi”) show cause before this Court at

Room _________, United States Courthouse, 500 Pearl Street, in the City, County, and State of New

York, on _______________ ____, 2019, at ____________ o’clock in the noon thereof, or as soon

thereafter as counsel may be heard, why an order should not be issued pursuant to 18 U.S.C § 401(3)

holding Defendant Shi in contempt of this Court’s February 1, 2019 Order (“Receivership Order”) and

issuing a civil capias arrest warrant as a coercive sanction until the time that Defendant Shi complies

with the Receivership Order; and
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         IT IS FURTHER ORDERED THAT that a copy of this Order and the accompanying

affirmations, the exhibits thereto, and the Memorandum of Law in Support, shall be served immediately

on Defendant Shi by email at vincent@lkmotion.com and by WeChat at +86 135 0123 3445, and that

such service shall be deemed good and sufficient service thereof.

SO ORDERED.


Dated:    March ____, 2019
          New York, New York

                                             _______________________
                                             Hon. Victor Marrero
                                             United States District Judge
